     Case 3:20-mc-03931-MHT Document 7 Filed 05/05/21 Page 1 of 2


  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


FAYETTE MIDDLE ANCHOR,           )
LLC, agent of CBL &              )
Associates Management,           )
Inc.,                            )
                                 )
     Plaintiff,                  )
                                 )          MISC. ACTION NO.
     v.                          )           3:20mc3931-MHT
                                 )                (WO)
KINNUCAN ENTERPRISES,            )
INC.,                            )
                                 )
     Defendant,                  )
                                 )
VALLEY NATIONAL BANK,            )
                                 )
     Garnishee.                  )

                               ORDER

    On    December      28,     2020,      plaintiff       filed       an

application for a writ of garnishment (Doc. 3).                     After

the writ was entered (Doc. 4), the garnishee filed an

answer (Doc. 5) to the writ stating that defendant’s

accounts have zero balances.           Based on the answer, the

court ordered plaintiff to show cause, if any there be,

by May 3, 2021, as to why the writ of garnishment (Doc.

4) should not be dismissed or vacated.                 See Order to

Show Cause (Doc. 6).          The deadline has passed without
     Case 3:20-mc-03931-MHT Document 7 Filed 05/05/21 Page 2 of 2


a response.      The court therefore concludes that the

writ should be dismissed.

    Accordingly,      it    is    ORDERED     that    the    writ   of

garnishment (Doc. 4) is dismissed.

    DONE, this the 5th day of May, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
